     Case 1:21-cv-01781-DAD-CDB   Document 1-2               EXHIBIT
                                                 Filed 10/26/21
                                                              Page 1 of 21 B
  From: USCIS USCIS- aseStatus@dhs.gov
Subject: Your recent in uiry (receipt #SRC-19-903-80813)
  Date: May 6, 2021 at 12:44 :00 PM
     To: kaurprabh087 gmail.com

U.S. Department of Ho eland Security
VERMONT SERVICE C NTER
75 LOWER WELDEN S REET
SAINT ALBANS,VT 054 9


U.S. Citizenship and Im igration Services
Thursday, May 6, 2021


Emailed to KaurQrabh0�7@gmail.com


Dear Prabhjot Kaur Mo drian:


On 05/05/2021, you or he designated representative shown below, contacted us
about your case. Some of the key information given to us at that time was the
following:


Caller indicated they ar :
-- Applicant or Petition r


Attorney Name:
-- Information not avail ble


Case type:
-- 1130


Filing date:
-- 05/10/2019

Receipt#:
-- SRC-19-903-80813

Referral ID:
    Case 1:21-cv-01781-DAD-CDB     Document 1-2   Filed 10/26/21   Page 2 of 21




Referral ID:
SR11252106102VSC
Beneficiary (if you file for someone else):
-- KAUR, MANJIT


Your USCIS Account     umber (A-number):
-- 061053066


Type of service reque ted:
-- Outside Normal Processing Times



The status of this ser ·ce request is:


Recently, you contact d U.S. Citizenship and Immigration Service (USCIS)
concerning your Petitipn for Alien Relative (Form 1-130) to notify us that you
believe your case is o tside of our normal processing time. Below is a
summary of what we fpund and how the issue has been or may be resolved.


We have placed your ase on a processing hold because the required security
checks remain pendin . Until we receive the results of these security checks,
we cannot move forw rd on your case. We require the results of security
checks before we ma�e a decision on any pending case.

We cannot predict wh n we will receive the results of these security checks.
Please be assured tha we will make every effort to make a decision in your
case as soon as the s curity checks are complete.

We hope this informat on is helpful to you and regret any inconvenience this
may have caused.
    Case 1:21-cv-01781-DAD-CDB   Document 1-2   Filed 10/26/21   Page 3 of 21

  From: USCIS USCIS CaseStatus@dhs.gov
Subject: Your recent in uiry (receipt#SRC-19-903-80812)
  Date: Jun 9, 2021 a� 1:11:10 PM
     To: kaurprabh087i@gmail.com

U.S. Department of H<Dmeland Security
VERMONT SERVICE OENTER
75 LOWER WELDEN STREET
SAINT ALBANS,VT 05 79


U.S. Citizenship and I migration Services
Wednesday, June 9, 2 21


Emailed to KaurgrabhJ87@gmail.com

Dear Prabhjot Kaur:


On 06/08/2021, you o the designated representative shown below, contacted
us about your case. Some of the key information given to us at that time was
the following:

Caller indicated they a e:
-- Applicant or Petitio er


Attorney Name:
-- Information not avai able


Case type:
-- 1130


Filing date:
-- 05/10/2019


Receipt#:
-- SRC-19-903-8081
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